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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                           -----x
JASON FREY, BRIANNA FREY, JACK CHENG,
AND WILLIAM SAPPE,

                                             Plaintiffs,

       - against -                                                   2I-cv-5334 (NSR)

NEW YORK CITY, New York, STEVEN
NIGRELLI, in his Official Capacity, KEECHANT
SEWELL, in her Official Capacity,

                                          Defendants
                                                                X


                     DECLARATION OF NICHOLAS R. CIAPPETTA

               NICHOLAS R. CIAPPETTA, an attorney duly admitted to practice law in the

United States District Court of the Southern District of New York, declares under penalties of

perjury, pursuant to 28 U.S.C. $ 1746, that the following is true:

               1.      I am an Assistant Corporation Counsel in the office of Hon. Sylvia O.
Hinds-Radix, Corporation Counsel of the City of New York, attorney for the City of New York

and Keechant Sewell, Commissioner of the New York City Police Department ("NYPD").

               2.      I am familiar with the facts and circumstances of this action based upon

my personal knowledge, my conversations with employees of the City of New York, and my

review of the pleadings and other documents herein.

               3.      I submit this declaration in opposition to Plaintiffs' motion for a
preliminary injunction and to place certain documents on the record of this motion.

               4.      A true and accurate copy of The City Record from August 31,2022, is

annexed hereto as Exhibit 1.
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                5.       A true and accurate copy of Chapter 136 of 1963 N.Y. Laws is annexed

hereto as Exhibit 2.

                6.       True and accurate copies of the following statutes are annexed hereto as

Exhibit 3: Act of Feb.9, 1750 ch. CCLXXXVI\, 1745-1759Pa. Laws 208; Act of Nov. 16,

1821, ch. LXLII, 1821 Tenn. Pub. Acts 78; Act of Jan. 30, 1847,1846-1847 Va. Acts ch.79, at

67; Act of Sept. 30,1867,1867 Arrz. Sess. Laws 21,21-22; Actof Mar. 13, 1871, ch. VI, 1871

Tex. Spec. Laws I1,14; and 1899 N.C. Sess. Laws 250.r

                7.       True and accurate copies of the following statutes are annexed hereto as

Exhibit4: Actof Apr. 13, 1782,chXIV,$XLII, 1782-l783Pa.Laws 124, 140;ch. 1,$20,

1836 Conn. Pub. Acts 104-105; 524, 1837N.J. Laws 373;ch.58, $ 8, 1838 Fla. Laws 70;ch.

123, $ 12,1845IowaActs 119; $ 25,1867 Neb. Laws 68; and S 47,1869 Neb. Laws 29,53.

                8.       True and accurate copies of the following statutes are annexed hereto as

Exhibit 5: 1862 Colo. Sess. Laws 56 1864 Mont. Laws 355; 1869 N.M. Laws 72; 1872Md.

Laws57; 1876Wyo. Sess.Laws 352;1881 Kan. Sess.Laws 79,92;and 1889 IdahoSess.Laws

23.

                9.       A true and accurate copy of 1891 N.Y. Laws 176 isannexed hereto as

F,xhihit 6.

                10.      A true and accurate copy of 1887 Fla. Laws 160,164-65 is annexed hereto

as Exhibit 7.

                1   1,   True and accurate copies of the following statutes are annexed hereto as

Exhibit 8: 1825 Tenn. Priv. Acts 306; 1883 Wis. Sess. Laws 687,713;1901 Mich. Pub. Acts



I Where there are multiple statutes per exhibit, the lhws are included in date order. For lengthy
statutes, only the relevant pages are included and/or the relevant section highlighted.



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687; l90I Id. Sess. Laws ll7 , 120; 1902 Ga. Laws 427 , 434-35; 1905 N.C. Sess. Laws 545, 547;

1905 N.J. Laws324-25; and 1909 Tex. Gen. Laws 105.

               12.    True and accurate copies of ordinances adopted by the following cities are

annexed hereto as Exhibit 9: Kansas City, Missouri in 1880; New York City, New York in

1881; Chicago, Illinois in 1881; Milwaukee, Wisconsin in 1896; Salt Lake City, Utah in 1888;

Wheeling, West Virginia in 1891; Evanston, Illinois in 1893; Oakland, California in 1895;

Lincoln, Nebraska in 1895; Spokane, Washington in 1896; Oregon City, Oregon in 1897; St.

Louis, Missouri in 1901; and Stockton, California in 1901. Also included in Exhibit 9 is a 1892

law passed by Congress prohibiting both open and concealed carry in Washington D.C. without a

permit.

               13.    True and accurate iopies of ordinances adopted by the following cities are

annexed hereto as Exhibit 10: Jersey City, New Jersey in 1871;Nebraska City, Nebraska in

1872;Nashville, Tennessee in 1873; Los Angeles, California in 1878; Salina, Kansas in1879;La

Crosse, Wisconsin in 1880; Syracuse, New York in 1885; Dallas, Texas in 1887; Checotah,

Oklahoma in 1890; New Haven, Connecticut in 1890; Rawlins, Wyoming in 1893; Superior,

Wisconsin in 1896; Wichita, Kansas in 1899; McKinney, Texas in 1899; and San Antonio, Texas

in 1899.

               14.    A true and accurate copy of the relevant portions of a report compiled by

the New York City Department of Planning entitled "2020 Census Results for New York City:

Key Population & Housing Characteristics" is annex'ed hereto as Exhibit 1 1.

               15.    True and accurate copies of the following statutes are annexed hereto as

Exhibit 12 1786 Va. Laws 33, ch. 2l and 1792 N.C. Laws 60, ch. 3.




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                16. A true and accurate copy of 1869-70 Tenn. Pub. Acts 23-24 is annexed
hereto as Exhibit 13.

                T7.      A true and accurate copy of 1870 Tex. Gen. Laws 63 is annexed hereto as

Exhibit 14.

                18.      True and accurate copies of the following statutes are annexed hereto as

Exhibit 15: 1883 Mo. T aws 76; 1889 Ariz. Sess. Laws 30; 1890 Okla. Sess. Laws 495; l90l

Ariz. Acts 1252; and 1903 Mont. Laws 49.

                19. A true and accurate copy of a Georgia law adopted in 1879 is annexed
hereto as Exhibit 16.

                20.      A true and accurate copy of the September 2022Monthly Indicator Report

compiled by the Times Square Alliance is annexed hereto as Exhibit 17. These reports are

available at;           httns://www.time   r   arenvc. orsldo-busi ness/m arket-research -datalmonthlv


indicator-reports.

                21.      True and accurate copies of the following statutes are annexed hereto as

Exhibit 18: 1895 Mich. Pub. Acts 696; 1905 Minn. Laws 620:' l9l7 Wis. Sess. Laws 1243; and

1921N.C. Sess. Laws 54.

                22.      True and accurate copies of ordinances and regulations adopted by the

following cities concerning the possession of firearms in parks are annexed hereto as Exhibit 19:

New York, Nbw York in 1858; Hyde Park, Illinois in 1875; Chicago, Illinois in 1881; Danville,

Illinois in 1883; St. Louis, Missouri in 1883; Salt Lake city, utah in 1888; williamsport,

Pennsylvania in 1890; Grand Rapids, Michigan in 1891; Lynn, Massachusetts in 1891;

Springfield, Massachusetts in 1891; Peoria, Illinois in 1892; Spokane, Washington in 1892;

Pittsburgh, Pennsylvania in 1893; St. Paul, Minnesota in 1894; Canton, Illinois in 1895;




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Indianapolis, Indiana in 1896; Boulder, Colorado in 1899; Hartford, Connecticut in 1902; New

Bedford, Massachusetts in 1902; Trenton, New Jersey in 1903; Lowell, Massachusetts in 1903;

New York, New York in 1903; Troy, New York in 1903; Houston, Texas in 1904; Neligh,

Nebraska in 1904; Pueblo, Colorado in 1904; Harrisburg, Pennsylvania in 1905; Haverhill,

Massachusetts in 1905; Saginaw, Michigan in 1905; Denver, Colorado in 1906; Los Angeles,

California in 1906; Olean, New York in1907; Seattle, Washingtoninlg0T; Oakland, California

in 1909; Kansas City, Missouri in 1909; Memphis, Tennessee in 1909; Paducah, Kentucky in
l9[9;Colorado Springs, Colorado in 1911; New York, New York in l9l2; Oakland, California

in l9l2; Grand Rapids, Michigan in I9l4; New Haven, Connecticut in 1914; Joplin, Missouri in

1917; Salt Lake City, Utah in 1920; Burlington, Vermont in l92l; and Chattanooga, Tennessee

in 1922.

               23.   True and accurate copies of the following statutes are annexed hereto as

Exhibit 20: 1878 Miss. Laws 175-76 and 1881 Fla. Laws 87.

               24.   True and accurate copies of the following statutes are annexed hereto as

Exhibit 21: a1867 Kansas law included in a 1897 compilation of laws and 1883 Wis. Sess.

Laws 290.

               25.   A true and accurate copy of 1907 Ariz. Sess. Laws 15 is annexed hereto as

Exhibit 22.

               26.   A true and accurate copy of a lease agreement between the City of New

York and New York City Transit Authority is annexed hereto as Exhibit 23.

               27. True and accurate copies of the following statutes are annexed hereto as
Exhrbit24: 1715 Md. Laws 90 al72I Pennsylvania statute; 1741 N.J. Laws 101; a 1763 New




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York statute; 177I N.J. Laws 344; 1865 La. Extra Acts 14-17; a 1866 Texas statute; and 1893

Or. Laws 79.

               28.    A true and accurate copy of Plaintiff Jack Cheng's business carry license,

in redacted form, is annexed hereto as Exhibit 25.

Dated:         New York, New York
               November 30,2022
                                                                             a




                                                     Nicholas R. Ciappetta       1014)




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